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O RI G N A L. THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

 

 

Superseding Indictment - Page 1

FORT WORTH DIVISION

UNITED STATES OF AMERICA

Vv. Case No. 4:20-CR-290-O
[Supersedes Indictment returned on
October 21, 2020, as to defendants 1-2
only, and adding defendant’s 4-27]

ADOLPHUS QUIN PETTY (01)

ALPHONSE FISHER (02)

CAESAR MARK CAPISTRANO

a/k/a “C. Mark Capistrano” NORTHERN DISTRICT OP TEXAS

a/k/a “Mark C. Capistrano” (04) FILED

WILKINSON OLOYEDE THOMAS (05)

CHRISTOPHER KALEJATYE AJAYI (06) NOV 1 2 2999

NEDAL HELMI NASER (07)

ETHEL OYEKUNLE-BUBU (08) be

OTIS RAY DOBBINS (09) By U.S. DISTRICT COURT

RODERICK SHERARD FREEMAN (10) —

NOEL KEITH BROWN

a/k/a “Slim” (11)

JAMES EDWARD HICKEY (12)

TYRONE LEWIS HOLMES (13)

MICHAEL JERMAIN JACKSON (14)

LAWRENCE HENNINGTON (15)

THOMAS RAY RICHARDS (16)

JOE IVORY PENIGAR, JR. (17)

ALONZO HARRIS (18)

GARY TIMOTHY HOLLEMAN (19)

MORRIS WIGGINS (20)

LEMON ANDREW HERFORD (21)

MARCUS DEWAYNE COOPER

a/k/a “Coop” (22)

KELVIN FRANK TOMLINSON (23)

BRIAN HENRY KINCADE

alk/a “BK” (24)

ADOLPHUS GLENN DOUGLAS

a/k/a “AD” (25)

LATONYA ANN TUCKER

a/k/a “Tonya” (26)

CYNTHIA DENISE COOKS (27)
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SUPERSEDING INDICTMENT

 

The Grand Jury charges:

Introduction

At all times material to this Indictment, unless otherwise indicated:

1. Caesar Mark Capistrano was the owner and operators of clinics in the
Northern District of Texas that operated as “pill mills,” unlawfully distributing
hydrocodone and other controlled substances outside the scope of professional practice
and without a legitimate medical need.

2. A pill mill is a facility that appears to be a medical clinic but in reality
distributes large quantities of controlled substances, such as hydrocodone, to the public
without regard for medical necessity or therapeutic benefit to the patient. Despite
employment of licensed medical practitioners, a pill mill does not operate as a legitimate
medical practice because the controlled-substance prescriptions that are issued are done
so with the knowledge that they are not for a legitimate medical purpose nor in the usual
course of professional practice.

3. At various times between April 2011 and September 2020, Caesar Mark
Capistrano owned and/or operated the following pill mills within the Northern District of
Texas: R.G. Medical and Lancaster Oncology.

4. At various times during the timeframe of the conspiracy, Wilkinson
Oloyede Thomas,Christopher Kalejaiye Ajayi, Nedal Helmi Naser, and Ethel Oyekunle-
Bubu owned and/or operated the following complicit pharmacies within the Northern

District of Texas: Calvary Pharmacy, Remcare Pharmacy, Brandy Pharmacy, and

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Mayfield Pharmacy (also known as “Ethel’s Pharmacy”), respectively.
The Defendants

5. Defendant Caesar Mark Capistrano was a medical doctor who served as
the supervising physician at R.G. Medical and Lancaster Oncology. Tameka Noel (not
named as a defendant herein) was a medical doctor who served as supervising physician
at R.G. Medical and Urban Medical.

6. Defendant Latonya Tucker and Shirley Williams (not named as defendant
herein) were employees of one or more of the Capistrano/Noel Pill Mills responsible
coordinating the pill mill activities.

7. Defendants Wilkinson Oloyede Thomas, Christopher Kalejaiye Ajayi,
Nedal Helmi Naser, and Ethel Oyekunle-Bubu were pharmacists who ignored their
corresponding responsibility and filled unlawful prescriptions under Capistrano and/or
Noel’s DEA registrations.

8. Defendants Cynthia Denise Cooks, Marcus Dewayne Cooper, Kelvin
Frank Tomlinson, and Brian Henry Kincade, along with Ritchie Milligan (not named
as a defendant herein), Wayne Kincade (not named as a defendant herein), Cynthia
Cooks (not named as a defendant herein), were recruiters and/or recruits of individuals
who posed as “patients” in order to obtain prescriptions for hydrocodone and other
controlled substances at one or more of the Pill Mills. The recruiters would be
responsible for coordinating with the staff at the Pill Mills and the complicit pharmacies
in order to have the unlawful prescriptions filled so that they could be further distributed

at the street-level.

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9. Defendants, Adolphus Quin Petty, Alphonse Fisher, Otis Ray Dobbins,
Roderick Sherard Freeman, Noel Keith Brown, James Edward Hickey, Tyrone
Lewis Holmes, Michael Jermain Jackson, Lawrence Hennington, Thomas Ray
Richards, Joe Ivory Penigar, Jr., Alonzo Harris, Gary Timothy Holleman, Morris
Wiggins, Lemon Andrew Herford, Adolphus Glenn Douglas, and others (not named
as defendants herein), were recruits who posed as “patients” in exchange for cash,
knowing that the prescriptions issued in their names were filled at complicit pharmacies
and intended for further distribution at the street-level.

The Controlled Substances Act

 

10. The Controlled Substances Act (“CSA”) and its implementing regulations
govern the possession, manufacture, distribution, dispensing, administering, and
prescribing of controlled substances within the United States.

11. The CSA and its implementing regulations sets forth which drugs and other
substances are defined by law as “controlled substances,” and those controlled substances
are assigned to one of five schedules (Schedule I, II, II, IV, or V), depending on their
potential for abuse, likelihood of physical or psychological dependency, accepted medical
use, and accepted safety for use under medical supervision.

12. Hydrocodone is the generic name for a narcotic analgesic that is also sold

under a variety of brand names such as Vicodin, Norco, and Lortab. Hydrocodone is also

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referred to by the street names “hydros,” “vics,” “norcos,” and “tabs,” among other

names.

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When legally supplied by a licensed practitioner for a legitimate medical purpose in the
usual course of professional practice, hydrocodone is used to combat moderate pain.
Hydrocodone is a widely abused narcotic that is frequently diverted from legitimate
medical channels and distributed illicitly on the street for profit and abuse.

13. Prior to October 6, 2014, the CSA and its implementing regulations
classified hydrocodone as a Schedule III controlled substance. Starting October 6, 2014,
hydrocodone was re-classified as a Schedule II controlled substance.

14. Carisoprodol is the generic name for a Schedule IV prescription drug
marketed under the brand name Soma. When legally supplied by a licensed practitioner
for a legitimate medical purpose in the usual course of professional practice,

Carisoprodol is used as a muscle relaxer. With prolonged abuse at high dosages, the drug
can lead to tolerance, dependence, and withdrawal symptoms in humans and continues to

be one of the most commonly diverted drugs.

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Count One
Conspiracy to Dispense and Distribute,
or Possess with Intent to Dispense and Distribute a Hydrocodone
(Violation of 21 U.S.C. § 846)

Beginning on a date unknown but no later than in or about April 2011, and
continuing until on or about September 24, 2020, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, Adolphus Quin Petty, Alphonse Fisher,
Caesar Mark Capistrano, Wilkinson Oloyede Thomas, Christopher Kalejaiye Ajayi,
Nedal Helmi Naser, Ethel Oyekunle-Bubu, Otis Ray Dobbins, Roderick Sherard
Freeman, Noel Keith Brown, James Edward Hickey, Tyrone Lewis Holmes, Michael
Jermain Jackson, Lawrence Hennington, Thomas Ray Richards, Joe Ivory Penigar,
Jr., Alonzo Harris, Gary Timothy Holleman, Morris Wiggins, Lemon Andrew
Herford, Marcus Dewayne Cooper, Kelvin Frank Tomlinson, Brian Henry Kincade,
Adolphus Glenn Douglas, Latonya Ann Tucker and Cynthia Denise Cooks, the
defendants herein, and others known and unknown to the Grand Jury, did knowingly and
intentionally combine, conspire, confederate and agree to engage in conduct in violation
21 U.S.C. §§ 841(a)(1) and (b)(1)(C), namely to possess with intent to dispense and
distribute and/or, dispense and distribute, outside the scope of professional practice and
not for a legitimate medical purpose, a mixture or substance containing a detectable

amount of hydrocodone, a Schedule II or Schedule III controlled substance.

In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(C))

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Count Two
Felon in Possession of a Firearm
(Violation of 18 U.S.C. § 922(g)(1))

On or about September 24, 2019, in the Northern District of Texas, defendant
Adolphus Quin Petty, knowing that he had been previously convicted of a crime
punishable by a term of imprisonment exceeding one year, that is, a felony, did
knowingly possess in and affecting interstate and foreign commerce the following
firearms and ammunition: one (1) Smith and Wesson, Military & Police model 1905, 4%

change version, .38 caliber revolver, bearing serial number 563865.

In violation of 18 U.S.C. § 922(g)(1).

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Count Three
Possession with Intent to Dispense and Distribute and/or,
Dispensing and Distribution of Hydrocodone; Aiding and Abetting
(Violation of 21 U.S.C. § 841, and 18 U.S.C. § 2)

Beginning on a date unknown but no later than in or about April 2011, and
continuing until on or about September 24, 2020, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, Adolphus Quin Petty, Alphonse Fisher,
Caesar Mark Capistrano, Wilkinson Oloyede Thomas, Christopher Kalejaiye Ajayi,
Nedal Helmi Naser, Ethel Oyekunle-Bubu, Otis Ray Dobbins, Roderick Sherard
Freeman, Noel Keith Brown, James Edward Hickey, Tyrone Lewis Holmes, Michael
Jermain Jackson, Lawrence Hennington, Thomas Ray Richards, Joe Ivory Penigar,
Jr., Alonzo Harris, Gary Timothy Holleman, Morris Wiggins, Lemon Andrew
Herford, Marcus Dewayne Cooper, Kelvin Frank Tomlinson, Brian Henry Kincade,
Adolphus Glenn Douglas, Latonya Ann Tucker and Cynthia Denise Cooks, the
defendants herein, and others known and unknown to the Grand Jury, aiding and abetting
each other, did knowingly and intentionally, distribute; dispense; and/or possessed with
intent to distribute and dispense a mixture and substance containing a detectable amount
of hydrocodone, a Schedule II or Schedule III controlled substance, outside the scope of

professional practice and not for a legitimate medical purpose.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C); and 18 U.S.C. § 2.

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Count Four
Conspiracy to Dispense and Distribute,
or Possess with Intent to Dispense and Distribute Carisoprodol
(Violation of 21 U.S.C. § 846)

Beginning on a date unknown but no later than in or about April 2011, and
continuing until on or about September 24, 2020, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, Adolphus Quin Petty, Alphonse Fisher,
Caesar Mark Capistrano, Wilkinson Oloyede Thomas, Christopher Kalejaiye Ajayi,
Nedal Helmi Naser, Ethel Oyekunle-Bubu, Otis Ray Dobbins, Roderick Sherard
Freeman, Noel Keith Brown, James Edward Hickey, Tyrone Lewis Holmes, Michael
Jermain Jackson, Lawrence Hennington, Thomas Ray Richards, Joe Ivory Penigar,
Jr., Alonzo Harris, Morris Wiggins, Lemon Andrew Herford, Marcus Dewayne
Cooper, Kelvin Frank Tomlinson, Brian Henry Kincade, Adolphus Glenn Douglas,
Latonya Ann Tucker and Cynthia Denise Cooks, the defendants herein, and others
known and unknown to the Grand Jury, did knowingly and intentionally combine,
conspire, confederate and agree to engage in conduct in violation 21 U.S.C. §§ 841(a)(1)
and (b)(1)(E), namely to possess with intent to dispense and distribute and/or, dispense
and distribute, outside the scope of professional practice and not for a legitimate medical
purpose, a mixture or substance containing a detectable amount of carisoprodol, a

Schedule IV controlled substance.

In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841 (a)(1) and (b)()(E)(iii)(2)).

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Count Five
Possession with Intent to Dispense and Distribute and/or,
Dispensing and Distribution of Carisoprodol; Aiding and Abetting
(Violation of 21 U.S.C. § 841, and 18 U.S.C. § 2)

Beginning on a date unknown but no later than in or about April 2011, and
continuing until on or about September 24, 2020, in the Fort Worth Division of the
Northern District of Texas, and elsewhere, Adolphus Quin Petty, Alphonse Fisher,
Caesar Mark Capistrano, Wilkinson Oloyede Thomas, Christopher Kalejaiye Ajayi,
Nedal Helmi Naser, Ethel Oyekunle-Bubu, Otis Ray Dobbins, Roderick Sherard
Freeman, Noel Keith Brown, James Edward Hickey, Tyrone Lewis Holmes, Michael
Jermain Jackson, Lawrence Hennington, Thomas Ray Richards, Joe Ivory Penigar,
Jr., Alonzo Harris, Morris Wiggins, Lemon Andrew Herford, Marcus Dewayne
Cooper, Kelvin Frank Tomlinson, Brian Henry Kincade, Adolphus Glenn Douglas,
Latonya Ann Tucker and Cynthia Denise Cooks, the defendants herein, and others
known and unknown to the Grand Jury, aiding and abetting each other, did knowingly
and intentionally, distribute; dispense; and/or possessed with intent to distribute and
dispense a mixture and substance containing a detectable amount of carisoprodol, a

Schedule IV controlled substance, outside the scope of professional practice and not for a

legitimate medical purpose.

In violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(E); and 18 U.S.C. § 2.

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Count Six
Conspiracy to Commit Money Laundering
(Violation of 18 U.S.C. § 1956(h))

Beginning in or before August 2011 and continuing until in and around July 2020,
in the Fort Worth Division of the Northern District of Texas, and elsewhere, Caesar
Mark Capistrano, the defendant, along with others known and unknown to the Grand
Jury, did knowingly and intentionally conspire and agree with others known and
unknown, to commit certain offenses against the United States in violation of 18 U.S.C.
§§ 1956 and 1957, to wit:

1. To knowingly conduct and attempt to conduct financial transactions affecting
interstate and foreign commerce, which transactions involved the proceeds of a
specified unlawful activity, that is, possession with intent to dispense and
distribute, and/or dispensing and distribution of a controlled substance, in
violation of 21 U.S.C. § 846 (21 U.S.C. §841(a)(1)), knowing that the
transactions were designed in whole or in part to conceal and disguise the
nature, location, ownership, control and source of the proceeds of the
specified unlawful activity. and that while conducting and attempting to
conduct such financial transactions, knew that the property involved in the
financial transactions, represented the proceeds of some form of unlawful
activity in violation of 18 U.S.C. § 1956(a)(1)(B)().

All in violation of 18 U.S.C. § 1956(h).

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Count Seven
Conspiracy to Commit Money Laundering
(Violation of 18 U.S.C. § 1956(h))

Beginning in or before July 2019 and continuing until in and around March 2020,
in the Fort Worth Division of the Northern District of Texas, and elsewhere, Ethel
Oyekunle-Bubu, the defendant, along with others known and unknown to the Grand
Jury, did knowingly and intentionally conspire and agree with others known and
unknown, to commit certain offenses against the United States in violation of 18 U.S.C.
§§ 1956 and 1957, to wit:

1. To knowingly conduct and attempt to conduct financial transactions affecting
interstate and foreign commerce, which transactions involved the proceeds of a
specified unlawful activity, that is, possession with intent to dispense and
distribute, and/or dispensing and distribution of a controlled substance, in
violation of 21 U.S.C. § 846 (21 U.S.C. §841(a)()), knowing that the
transactions were designed in whole or in part to conceal and disguise the
nature, location, ownership, control and source of the proceeds of the
specified unlawful activity. and that while conducting and attempting to
conduct such financial transactions, knew that the property involved in the

financial transactions, represented the proceeds of some form of unlawful

activity in violation of 18 U.S.C. § 1956(a)(1)(B)(i).

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2. To knowingly engage and attempt to engage, in monetary transactions by,
through or to a financial institution, affecting interstate and foreign commerce,
in criminally derived property of a value greater than $10,000, such property
having been derived from a specified unlawful activity, to wit: possession with
intent to dispense and distribute, and/or dispensing and distribution of a
controlled substance, in violation of 21 U.S.C. § 846 (21 U.S.C. § 841(a)(1)), in
violation of 18 U.S.C., 1957.

All in violation of 18 U.S.C. § 1956(h).

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Count Eight
False Statement or Representation made to a Department or Agency of the United States

(Violation of 18 U.S.C. § 1001)

On or about August 12, 2020, in the Fort Worth Division of the Northern District
of Texas, and elsewhere, defendant Caesar Mark Capistrano, did willfully and
knowingly make a materially false, fictitious, and fraudulent statement and representation
in a matter within the jurisdiction of the executive branch of the Government of the
United States, by telling investigators with the Drug Enforcement Administration that
more than 50% of his patients had cancer and that he conducted “head to toe” physical
examinations. Capistrano made these statements to DEA investigators during the
execution of a federal search warrant regarding Capistrano’s clinic located in the
Northern District of Texas. The statement and representation was false because, as
Capistrano then and there knew, less than 50% of his patients did not have cancer and he
did not conduct “head to toe” examinations.

In violation of 18 U.S.C. § 1001(a)(2).

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Count Nine
False Statement or Representation made to a Department or Agency of the United States
(Violation of 18 U.S.C. § 1001)

On or about December 16, 2019, in the Fort Worth Division of the Northern
District of Texas, defendant Nedal Helmi Naser, did willfully and knowingly make a
materially false, fictitious, and fraudulent statement and representation in a matter within
the jurisdiction of the executive branch of the Government of the United States, by telling
investigators with the Drug Enforcement Administration that he had verified with
Ngozika Njoku’s supervising physician Dr. Puri that Njoku could write prescriptions for
Schedules IT— V. Naser made this statement and representation to DEA investigators
during the execution of a federal search warrant at Brandy Pharmacy, in the Northern
District of Texas. The statement and representation was false because, as Naser then and

there knew, Naser had not spoken to Dr. Puri.

In violation of 18 U.S.C. § 1001(a)(2).

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Count Ten
False Statement or Representation made to a Department or Agency of the United States
(Violation of 18 U.S.C. § 1001)
On or about August 12, 2020, in the Fort Worth Division of the Northern District

of Texas, defendant Christopher Kalejaiye Ajayi, did willfully and knowingly make a
materially false, fictitious, and fraudulent statement and representation in a matter within
the jurisdiction of the executive branch of the Government of the United States, by telling
investigators with the Drug Enforcement Administration that he would call the patient to
make sure it was okay for someone else to pick up their prescription. Ajayi made this
statement and representation to DEA investigators during the execution of a federal
search warrant at Ajayi’s residence, in the Northern District of Texas. The statement and
representation was false because, as Ajayi then and there knew, Ajayi did not contact the
patients prior to allowing recruiter Wayne Kincade to pick up the controlled substance

prescriptions.

In violation of 18 U.S.C. § 1001(a)(2).

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Count Eleven
False Document
(Violation of 18 U.S.C. §§ 1001 and 2)

Between on or about January 5, 2018 through March 2019, in the Fort Worth
Division of the Northern District of Texas, defendant Ethel Oyekunle-Bubu, the
defendant, along with others known and unknown to the Grand Jury, did willfully and
knowingly make and use a false writing and document, knowing the same to contain a
materially false, fictitious, and fraudulent statement and entry in a matter within the
jurisdiction of the executive branch of the Government of the United States, by noting on
controlled substance prescriptions that the legitimacy of the prescription was verified
with the physician and/or staff. These controlled substances prescriptions were seized
from Ethel’s Pharmacy in the Northern District of Texas; and were alleged to be issued
by Dr. C. Mark Capistrano, Dr. R.K., Dr. A.H., Dr. C.H., and Dr. 8.0. Oyekunle- Bubu
made and used these notations on the prescriptions well knowing and believing
Oyenkunle-Bubu did not verify the above-described prescriptions with the physicians

and/or staff.

In violation of 18 U.S.C. §§ 1001(a)(3) and 2.

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Count Twelve
Aggravated Identity Theft
(Violation of 18 U.S.C. §§ 1028A and 2)

On or about December 22, 2018, in the Fort Worth Division of the Northern
District of Texas, defendant Ethel Oyekunle-Bubu, and others known and unknown,
aiding and abetting each other, did knowingly transfer, possess, and use, without lawful
authority, a means of identification of another person, that is, the name, and date of birth
belonging to T.A., XX/XX/1987, during and in relation to a felony violation enumerated
in 18 U.S.C. § 1001, to wit, making a false statement or representation described in Count

Eleven, knowing that the means of identification belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

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Count Thirteen
Aggravated Identity Theft
(Violation of 18 U.S.C. §§ 1028A and 2)

On or about February 22, 2019, in the Fort Worth Division of the Northern District
of Texas, defendant Ethel Oyekunle-Bubu, and others known and unknown, aiding and
abetting each other, did knowingly transfer, possess, and use, without lawful authority, a
means of identification of another person, that is, the name, and date of birth belonging to
M.G., XX/XX/1991, during and in relation to a felony violation enumerated in 18 U.S.C.
§ 1001, to wit, making a false statement or representation described in Count Eleven,

knowing that the means of identification belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

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Count Fourteen
Aggravated Identity Theft
(Violation of 18 U.S.C. §§ 1028A and 2)

On or about May 6, 2019, in the Fort Worth Division of the Northern District of
Texas, defendant Ethel Oyekunle-Bubu, and others known and unknown, aiding and
abetting each other, did knowingly transfer, possess, and use, without lawful authority, a
means of identification of another person, that is, the name, and date of birth belonging to
W.H., XX/XX/1958, during and in relation to a felony violation enumerated in 18 U.S.C.
§ 1001, to wit, making a false statement or representation described in Count Eleven,

knowing that the means of identification belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

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Count Fifteen
Aggravated Identity Theft
(Violation of 18 U.S.C. §§ 1028A and 2)

On or about November 13, 2019, in the Fort Worth Division of the Northern
District of Texas, defendant Ethel Oyekunle-Bubu, and others known and unknown,
aiding and abetting each other, did knowingly transfer, possess, and use, without lawful
authority, a means of identification of another person, that is, the name, and date of birth
belonging to C.C., XX/XX/1970, during and in relation to a felony violation enumerated
in 18 U.S.C. § 1001, to wit, making a false statement or representation described in Count

Eleven, knowing that the means of identification belonged to another actual person.

In violation of 18 U.S.C. §§ 1028A(a)(1) and 2.

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Count Sixteen
False Statement to a Bank
(Violations of 18 U.S.C. § 1014)
Introduction

Prosperity Bank, (formerly known as Legacy Texas, hereinafter referred to
as “Legacy Texas”) was a financial institution, the accounts of which were insured by the
Federal Deposit Insurance Corporation, and that participated in the U.S. Small Business
Administration’s Paycheck Protection Program (“PPP”’) as a lender.

Under the PPP’s terms, the amount of funds that a small business was
eligible to receive as a PPP loan was calculated based on the small business’s average
monthly payroll expenses and number of employees. Additionally, under the PPP’s
rules, a small business was eligible to receive a PPP loan if it was in operation as of
February 15, 2020.

Mayfield Pharmacy Inc. (“Mayfield Pharmacy or “Ethel’s Pharmacy”) was
a Texas corporation. The defendant, Ethel Oyekunle-Bubu, was Mayfield’s sole owner
and director. Mayfield Pharmacy maintained a business checking account at Legacy
Texas. Oyekunle-Bubu was a signatory on that account.

On or about April 29, 2020, a Paycheck Protection Program (PPP) loan
application was submitted to Legacy Texas on behalf of Mayfield Pharmacy to keep
employees on the payroll during the COVID pandemic.

Mayfield Pharmacy’s PPP loan application falsely stated that (1) Mayfield

Pharmacy’s average monthly payroll was $21,059.77; and (ii) Mayfield Pharmacy had 5

employees. Mayfield’s PPP loan application was signed by Oyekunle-Bubu.

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The PPP loan application was approved and on or about May 14, 2020,
Legacy Bank distributed approximately $40,200 to Oyekunle-Bubu through a deposit
into Mayfield Pharmacy’s account at Legacy Texas.

On or about April 29, 2020, in the Northern District of Texas and
elsewhere, the defendant, Ethel Oyekunle-Bubu, knowingly made a false statement for
the purpose of influencing the lending action of a financial institution, the accounts of
which were insured by the Federal Deposit Insurance Corporation, that is, in the PPP loan
application to Legacy Bank, Oyekunle-Bubu falsely represented that (i) Mayfield
Pharmacy’s average monthly payroll was $21,059.77; and (ii) Mayfield Pharmacy had 5
employees. The investigation revealed that at the time of the application, Mayfield
Pharmacy, LLC, misrepresented the number of employees for the purpose of obtaining
additional monies from the PPP loan program. Three of the five employees had not been
employed by Mayfield Pharmacy, LLC since at least January 2020.

All in violation of 18 U.S.C. § 1014.

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Narcotics Forfeiture Notice
Pursuant to 21 U.S.C. § 853(a)(1), upon conviction for any offense violating 21
U.S.C. §§ 846 and 841, defendants shall forfeit to the United States of America any
property constituting, or derived from, any proceeds obtained, directly or indirectly, as
the result of such offense(s) and any property used, or intended to be used, in any manner
or part, to commit, or to facilitate the commission of, the offense(s), including, but not
limited to:
1. $5,200 seized from Ethel Oyekunle-Bubu on May 20, 2020 (Legacy Texas
Bank account);
2. $38,993.86 seized from Ethel Oyekunle-Bubu on May 20, 2020 (Legacy Texas
Bank account);
3. $87,018 seized from Ethel Oyekunle-Bubu at 2007 Crosbyton, Grand Prairie,
Texas on May 20, 2020;
4. $7,539 seized from Wilkinson Oloyede Thomas at XXXX Bucanero, Grand
Prairie, Texas on August 12, 2020;
5. $25,000 seized from Caesar Mark Capistrano at XXX High Point, Murphy,
Texas on August 12, 2020;
6. $37,865 seized from Caesar Mark Capistrano at XXX High Point, Murphy,
Texas on August 12, 2020;
7. Real property owned by Caesar Mark Capistrano and located at XXXX

Monticello Avenue, Dallas, Texas;

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Money Laundering Forfeiture Notice

Pursuant to 18 U.S.C. § 982(a)(1), upon conviction of an offense in violation 18
U.S.C. § 1956 or 1957, the defendants shall forfeit to the United States of America any
property, real or personal, involved in such offense, and any property traceable to such
property. The property to be forfeited includes, but is not limited to, the following:

1. $5,200 seized from Ethel Oyekunle-Bubu on May 20, 2020 (Legacy Texas

Bank account);
2. $38,993.86 seized from Ethel Oyekunle-Bubu on May 20, 2020 (Legacy Texas

Bank account).

[Continued on next page]

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Money Judgment and Substitute Assets

If property is not available for forfeiture as a result of any act or omission of the

defendant(s) for one or more of the reasons listed in 21 U.S.C. § 853(p), then the

government may seek a forfeiture “money” judgment.

The government may seek forfeiture of substitute property from the defendant(s),

pursuant to 21 U.S.C. § 853(p).

ERIN NEALY COX
UNITED STATES ATTORNEY

LAURA G. MONTES

Assistant United States Attorney
Massachusetts State Bar No. 687739
801 Cherry Street, Suite 1700

Fort Worth, Texas 76102

Telephone: 817.252.5200
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A TRUE BILL.

 

FOREPERSON
 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA
Vv.

ADOLPHUS QUIN PETTY (01)
ALPHONSE FISHER (02)

CAESAR MARK CAPISTRANO (04)

a/k/a “C. Mark Capistrano”

a/k/a “Mark C. Capistrano”
WILIKINSON OLOYEDE THOMAS (05)
CHRISTOPHER KALEJATYE AJAYI (06)

NEDAL HELMI NASER (07)
ETHEL OYEKUNLE-BUBU (08)
CYNTHIA DENISE COOKS (09)

OTIS RAY DOBBINS (10)

RODERICK SHERARD FREEMAN (11)
NOEL KEITH BROWN (12)
a/k/a “Slim”

JAMES EDWARD HICKEY (13)
TYRONE LEWIS HOLMES (14)
MICHAEL JERMAIN JACKSON (15)
LAWRENCE HENNINGTON (16)
THOMAS RAY RICHARDS (17)
JOE IVORY PENIGAR, JR. (18)
ALONZO HARRIS (19)
GARY TIMOTHY HOLLEMAN (20)
MORRIS WIGGINS (21)
LEMON ANDREW HERFORD (22)
MARCUS DEWAYNE COOPER (23)
a/k/a “Coop”

KELVIN FRANK TOMLINSON (24)
BRIAN HENRY KINCADE
a/k/a “BK”

ADOLPHUS GLENN DOUGLAS (25)
a/k/a “AD”

LATONYA ANN TUCKER (26)

CYNTHIA DENISE COOKS (27)
4

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_SUPERSEDING INDICTMENT

21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(C))
Conspiracy to Dispense and Distribute,
or Possess with Intent to Dispense and Distribute a Hydrocodone
Count 1

18 U.S.C. § 922(g)(1)
Felon in Possession of a Firearm

Count 2

21 U.S.C. §§ 841(a)(1) and (b)(1)(C); and 18 U.S.C. § 2
Possession with Intent to Dispense and Distribute and/or,
Dispensing and Distribution of Hydrocodone; Aiding and Abetting
Count 3

21 U.S.C. § 846 (21 U.S.C. §§ 841 (a)(1) and (b)(I)(E)Ciii)(2))
Conspiracy to Dispense and Distribute,
or Possess with Intent to Dispense and Distribute Carisoprodol
Count 4

21 U.S.C. §§ 841(a)(1) and (b)(1)(E); and 18 U.S.C. § 2
Possession with Intent to Dispense and Distribute and/or,
Dispensing and Distribution of Carisoprodol; Aiding and Abetting
Count 5

18 U.S.C. § 1956(h)
Conspiracy to Commit Money Laundering
Counts 6-7

18 U.S.C. § 1001
False Statement or Representation made to a Department or Agency of the United States
Counts 8-10

18 U.S.C. §§ 1001(a)(3), and 2
False Document
Count 11

18 U.S.C. §§ 1028A and 2
Aggravated Identity Theft
Counts 12-15

18 U.S.C. § 1014
False Statement to a Bank
Count 16
 

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21 U.S.C. § 853(a)(1) and 18 U.S.C. § 982(a)(1)
Forfeiture

 

A true bill rendered

Wis

FORT WORTH FOREPERSON

Filed in open court this 12th day of November, 2020.

 

 

Defendants Fisher, Capistrano, Thomas, Ajayi, Naser, Oyekunle-Bubu, Dobbins,
Freeman, Brown, Hickey, Holmes, Jackson, Hennington, Richards, Penigar, Jr.,
Harris, Holleman, Wiggins, Herford, Cooper, Tomlinson, Douglas, Tucker and
Cooks on Pretrial Release. Defendant’s Petty, Herford and Kincade in Federal
custody since September 24, 2020; Defendant Fisher in Federal custody since
September 30, 2020.

 

gree (ear ., .

UNITED STATES MAGI@TRATE JUDGE
Magistrate Case Number: 4:20-MJ-611-BJ

 
